Case 1:19-cv-11461-PBS Document 575-15 Filed 04/15/22 Page 1 of 19




            EXHIBIT 18
Case 1:19-cv-11461-PBS Document 575-15 Filed 04/15/22 Page 2 of 19
Case 1:19-cv-11461-PBS Document 575-15 Filed 04/15/22 Page 3 of 19
Case 1:19-cv-11461-PBS Document 575-15 Filed 04/15/22 Page 4 of 19
Case 1:19-cv-11461-PBS Document 575-15 Filed 04/15/22 Page 5 of 19
Case 1:19-cv-11461-PBS Document 575-15 Filed 04/15/22 Page 6 of 19
Case 1:19-cv-11461-PBS Document 575-15 Filed 04/15/22 Page 7 of 19
Case 1:19-cv-11461-PBS Document 575-15 Filed 04/15/22 Page 8 of 19
Case 1:19-cv-11461-PBS Document 575-15 Filed 04/15/22 Page 9 of 19
Case 1:19-cv-11461-PBS Document 575-15 Filed 04/15/22 Page 10 of 19
Case 1:19-cv-11461-PBS Document 575-15 Filed 04/15/22 Page 11 of 19
Case 1:19-cv-11461-PBS Document 575-15 Filed 04/15/22 Page 12 of 19
Case 1:19-cv-11461-PBS Document 575-15 Filed 04/15/22 Page 13 of 19
Case 1:19-cv-11461-PBS Document 575-15 Filed 04/15/22 Page 14 of 19
Case 1:19-cv-11461-PBS Document 575-15 Filed 04/15/22 Page 15 of 19
Case 1:19-cv-11461-PBS Document 575-15 Filed 04/15/22 Page 16 of 19
Case 1:19-cv-11461-PBS Document 575-15 Filed 04/15/22 Page 17 of 19
Case 1:19-cv-11461-PBS Document 575-15 Filed 04/15/22 Page 18 of 19
Case 1:19-cv-11461-PBS Document 575-15 Filed 04/15/22 Page 19 of 19
